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                          THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

NICHOLAS FRAZIER                                                                        PLAINTIFF

v.                                Case No. 4:20-cv-00434-KGB

WENDY KELLEY, et al.                                                                 DEFENDANTS

                            TEMPORARY RESTRAINING ORDER

       Before the Court is a supplemental motion for a temporary restraining order filed by

plaintiffs Nicholas Frazier, Alvin Hampton, Marvin Kent, Michael Kouri, Jonathan Neeley, Alfred

Nickson, Harold “Scott” Otwell, Trinidad Serrato, Robert Stiggers, Victor Williams, and John

Doe, individually and on behalf of all others similarly situated (collectively, “plaintiffs”) (Dkt. No.

22). Plaintiffs bring this action against defendants Wendy Kelley, Secretary of the Arkansas

Department of Correction (“ADC”); Dexter Payne, Division of Correction Director, ADC; Jerry

Bradshaw, Division of Community Correction Director, ADC; Asa Hutchinson, Governor of

Arkansas; Benny Magness, Chairman of Arkansas Board of Corrections (“ABC”); Bobby Glover,

Vice Chairman of ABC; John Felts, Member of ABC; William “Dubs” Byers, Member of ABC;

and Whitney Gass, Member of ABC, all in their official capacities (collectively, “defendants”)

(Dkt. No. 1). 1 For the following reasons, the Court denies plaintiffs’ supplemental motion for a

temporary restraining order (Dkt. No. 22).




       1
          Initially, plaintiffs also named as a defendant Buddy Chadick, Secretary of the Arkansas
Board of Corrections (Dkt. No. 1). However, plaintiffs have filed a notice of voluntarily dismissal
of separate defendant Buddy Chadick pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i)
(Dkt. No. 8). Accordingly, the Court directs the Clerk of the Court to terminate Mr. Chadick as a
defendant in this action.
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       I.      Background

               A.       COVID-19

       COVID-19 is a disease caused by a novel coronavirus that began infecting humans in late

2019. The COVID-19 pandemic has created a public health emergency (Dkt. No. 3, at 14). More

than two million individuals worldwide have tested positive for COVID-19, and more than

146,000 have died from the disease (Id.). There is no cure for COVID-19, and once contracted it

can have life-threatening consequences, particularly for people who have underlying medical

conditions, have a disability, or are over the age of 50 (Dkt. No. 23, at 3).

       The World Health Organization (“WHO”) declared COVID-19 a pandemic on March 11,

2020 (Dkt. No. 3, at 14). That same day, Governor Hutchinson signed Executive Order 20-03

(“EO 20-03”) declaring a state of emergency and confirmed the first presumptive case of COVID-

19 in Arkansas (Id.). Also on March 11, Ms. Kelley issued a memorandum outlining the ADC’s

protocols to reduce the risk and combat the spread of COVID-19 within ADC facilities (Id., at 25).

This memorandum encouraged regular handwashing, covering coughs and sneezes, avoiding

handshakes, continuing cleaning, and telling staff members to stay at home if ill (Id., at 25-26).

See    Wendy        Kelley,   Sec.    of     Corrections,   Memorandum          (Mar.   11,   2020),

https://adc.arkansas.gov/coronavirus-covid-19-updates. On March 13, 2020, President Trump

declared the COVID-19 outbreak a national emergency (Id., at 15).

       On March 23, 2020, the CDC published its Interim Guidance on Management of

Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities (Id., at 26). See

Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in Correctional and

Detention      Facilities     (Mar.        23,   2020),     https://www.cdc.gov/coronavirus/2019-

ncov/downloads/guidance-correctional-detention.pdf. The CDC published these guidelines, in



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part, to help correctional facilities ensure the protection, health, and safety of incarcerated people

(Dkt. No. 3, at 26).

       At the time of the complaint’s filing, Arkansas had 1,971 COVID-19 infections and 42

deaths statewide; incarcerated people make up at least one in three confirmed COVID-19

infections statewide (Dkt. No. 1, ¶ 2). COVID-19 has proven highly contagious in congregate

environments such as nursing home facilities, cruise ships, naval aircraft carriers, and prisons (Id.,

¶ 3). Because ADC prisoners are housed in close quarters, unable to maintain a six-foot distance

from others, and share or touch objects used by others, the risks of contracting COVID-19 are

greatly increased in ADC facilities (Dkt. No. 3, at 20). As of April 27, 2020, 856 people

incarcerated at the Cummins Unit (“Cummins”) alone have been confirmed to have contracted

COVID-19 (Id.).

               B.      Complaint And Parties

       On April 21, 2020, plaintiffs filed a class action complaint and petition for writ of habeas

corpus (Dkt. No. 1). Plaintiffs are individuals incarcerated in facilities operated by the ADC, and

plaintiffs seek immediate relief against the substantial risk of COVID-19 infection, illness, and

death while incarcerated in facilities operated by the ADC (Id., at 1-2). Based on the allegations

in their complaint, each named plaintiff faces a heightened risk of death or serious injury if exposed

to COVID-19 due to a chronic medical condition, a disability, or both (Id., ¶¶ 15-35).

       Mr. Kouri alleges that he has been diagnosed with aortic heart valve degeneration; has an

artificial heart valve and is on blood thinners; suffers from hypertension and extreme obesity; has

been experiencing more severe shortness of breath, headaches, chills, coughing; was recently

diagnosed with conjunctivitis; and has not been tested for COVID-19 (Id., ¶¶ 15-16). Mr. Serrano

alleges that he is a carrier of tuberculosis and suffers from asthma (Id., ¶ 17). Mr. Frazier alleges



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that he suffers from seizures and asthma (Id., ¶ 19). Mr. Kent alleges that he has been diagnosed

with heart failure and has a pacemaker; suffers from chest pain daily; has hypertension and high

cholesterol; is currently experiencing headaches, body aches, coughing, and nausea; and has not

been tested for COVID-19 (Id., ¶ 20). Mr. Otwell alleges that he is obese, pre-diabetic, has

osteoarthritis, receives physical therapy for his right hip, and has limited mobility (Id., ¶ 22). Mr.

Stiggers alleges that he suffers from asthma (Id., ¶ 24). Mr. Nickson alleges that he suffers from

diabetes, rheumatoid arthritis, and osteoarthritis; has experienced shortness of breath, fatigue,

coughing, and repeated vomiting; and has not been tested for COVID-19 (Id., ¶ 26). Mr. Williams

alleges that his lymphoma is in remission and claims that he suffers from a collapsed lung,

hypertension, and bruised tissue surrounding his heart (Id., ¶ 28). Mr. Hampton alleges that he

suffers from seizures, Bell’s palsy, and bipolar disorder; has reported difficulty breathing in the

morning, constant coughing, and congestion; and has not been tested for COVID-19 (Id., ¶ 31).

Mr. Neeley alleges that he was diagnosed with rectal cancer in January 2020; has not received

treatment or chemotherapy; and has traveled to three local hospitals recently related to his cancer

diagnosis (Id., ¶ 33). Plaintiff John Doe recently tested positive for COVID-19 and suffers from

severe asthma which requires use of an inhaler throughout the day, according to plaintiffs’

complaint (Id., ¶ 35).

       Mr. Kouri, Mr. Serrato, Mr. Otwell, Mr. Williams, Mr. Hampton, and Mr. Neeley are

incarcerated in the Ouachita River Correctional Unit (“Ouachita”) (Id., ¶¶ 15, 17, 22, 28, 31, 33).

Mr. Frazier and Mr. Kent are incarcerated in the Varner Supermax (“Varner”) (Id., ¶¶ 19-20). Mr.

Stiggers, Mr. Nickson, and John Doe are incarcerated in Cummins (Id., ¶¶ 24, 26, 35). Mr. Kouri,

Mr. Serrato, Mr. Frazier, Mr. Otwell, Mr. Stiggers, Mr. Nickson, Mr. Williams, Mr. Hampton, and




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Mr. Neeley filed grievances regarding their vulnerability to COVID-19 (Id., ¶¶ 16, 18, 19, 23, 25,

27, 30, 32, 34).

         Plaintiffs seek relief on behalf of themselves and a class consisting of people who are

currently incarcerated, or will be in the future, in an ADC detention facility during the duration of

the COVID-19 pandemic (Id., ¶ 41). Plaintiffs also propose two subclasses: (a) high risk subclass,

defined as:

         [P]eople in the custody of an ADC facility aged 50 or over and/or who have serious
         underlying medical conditions that put them at particular risk of serious harm or
         death from COVID-19, including but not limited to people with respiratory
         conditions such as chronic lung disease or asthma; people with heart disease or
         other heart conditions; people who are immunocompromised as a result of cancer,
         HIV/AIDS, or for any other reason; people with chronic liver or kidney disease, or
         renal failure (including hepatitis and dialysis patients); people with diabetes,
         epilepsy, hypertension, blood disorders (including sickle cell disease), or an
         inherited metabolic disorder; people who have had or are at risk of a stroke; and
         people with any condition specifically identified by the Center for Disease Control
         (“CDC”), currently or in the future, as increasing their risk of contracting, having
         severe illness, and/or dying from COVID-19.

and (b) disability subclass, defined as:

         [P]eople in custody who suffer from a disability that substantially limits one or
         more of their major life activities and who are at increased risk of contracting,
         becoming severely ill from, and/or dying from COVID-19 due to their disability or
         any medical treatment necessary to treat their disability.

(Id.).

         In their complaint, plaintiffs allege that conditions in ADC facilities create a serious risk

of COVID-19-related infection, disease, and death (Id., ¶¶ 72-89). Plaintiffs claim that the spread

of COVID-19 in ADC facilities jeopardizes the public health of surrounding communities,

especially black communities (Id., ¶¶ 90-97). Plaintiffs assert that defendants have intentionally

failed to adopt and implement adequate policies and procedures to prevent and mitigate the spread

of COVID-19 (Id., ¶¶ 98-126). Plaintiffs assert three causes of action: (1) violation of the Eighth



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Amendment brought pursuant to 42 U.S.C. § 1983 on behalf of all plaintiffs; (2) violation of the

Eighth Amendment brought via a petition for writ of habeas corpus under 28 U.S.C. § 2241 on

behalf of the proposed high risk subclass; and (3) violation of the Americans with Disabilities Act

(“ADA”), 42 U.S.C. § 12101, et seq., on behalf of the proposed disability subclass (Id., ¶¶ 127-

48).

               C.      Pending Requests For Immediate Relief

       Plaintiffs filed an emergency motion for temporary restraining order and preliminary

injunction on April 21, 2020 (Dkt. No. 2). In that motion, plaintiffs request that this Court grant

immediate relief to protect them against the substantial risk of COVID-19 infection, illness, and

death while incarcerated in the ADC (Id., at 1-2).         The Court set a briefing schedule for

consideration of that motion and a hearing on it for May 7, 2020 (Dkt. No. 20). The emergency

motion for temporary restraining order and preliminary injunction remains pending before the

Court and will be ruled on in a separate Order (Dkt. No. 2). 2

       On Monday, April 27, 2020, plaintiffs filed the instant motion (Dkt. No. 22). Plaintiffs’

supplemental motion for temporary restraining order requests that the Court enter immediately a

temporary restraining order requiring defendants to undertake certain basic social distancing and

sanitation measures (Id., at 1). Plaintiffs have provided a draft proposed order outlining in detail

the relief they seek (Dkt. No. 22-1). Specifically, plaintiffs request that the ADC take the following

measures: (1) ensure that each incarcerated individual receives a free and adequate personal supply

of: hand soap sufficient to permit frequent hand washing, paper towels, facial tissues, cleaning




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          Defendants have also submitted a response to plaintiffs’ emergency motion for temporary
restraining order and preliminary injunction including further argument and evidence (Dkt. No.
36). The Court will address that argument and evidence in a later Order addressing plaintiffs’
emergency motion for temporary restraining order and preliminary injunction (Dkt. No. 2).
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implements such as sponges or brushes, and EPA-registered disinfectants that are effective against

COVID-19 infection, without costs; (2) ensure that all individuals have access to hand sanitizer

containing at least 60% alcohol or, to the extent such hand sanitizer is not permitted, the best

alternative, consistent with CDC Guidelines; (3) provide daily access to showers and clean

laundry, including clean towels after each shower; (4) disinfect frequently touched surfaces,

including but not limited to doorknobs, light switches, sink handles, countertops, toilets, toilet

handles, recreation equipment, kiosks, and telephones, at least three times a day with EPA-

registered disinfectants that are effective against the virus that causes COVID-19, as appropriate

for the surface; (5) thoroughly clean and disinfect all areas where people who have tested positive

for COVID-19, or have been suspected of having COVID-19, spent time (e.g., cells, bathrooms,

and common areas) with EPA-registered disinfectants that are effective against the virus that

causes COVID-19, as appropriate for the surface; (6) require that all ADC staff wear personal

protective equipment (“PPE”) consistent with the CDC’s Interim Guidance on Management of

Coronavirus Disease 2019 (COVID-19) in Correctional and Detention Facilities, including masks

and gloves, when interacting with visitors and incarcerated individuals or when touching surfaces

in common areas; (7) train all ADC staff and people incarcerated in ADC facilities on how properly

to don, doff, and dispose of PPE; (8) post signage through ADC facilities communicating the

following: (a) For all: the symptoms of COVID-19 and hand hygiene instructions; (b) For

incarcerated/detained persons: how to report symptoms to staff; (c) For staff: to stay at home

when sick; if symptoms develop while on duty, leave the facility as soon as possible and follow

CDC-recommended steps for persons who are ill with COVID-19 symptoms including self-

isolating at home, contacting their healthcare provider as soon as possible to determine whether

they need to be evaluated and tested, and contacting their supervisor; and (d) ensure that signage



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is understandable for non-English speaking persons and those with low literacy, and make

necessary accommodations for those with cognitive or intellectual disabilities and those who are

deaf, blind, or low-vision; (9) provide an anonymous mechanism for incarcerated individuals to

report staff who violate these guidelines so that appropriate corrective action may be taken; (10)

take each incarcerated person’s temperature daily (with a properly disinfected and accurate

thermometer) to identify potential COVID-19 infections; (11) assess each incarcerated individual

daily through questioning to identify potential COVID-19 infections; (12) conduct immediate

testing for anyone displaying known symptoms of COVID19; (13) immediately provide clean

masks for all individuals who display or report potential COVID-19 symptoms until they can be

evaluated by a qualified medical professional or placed in a non-punitive quarantine and ensure

the masks are properly laundered with replacements as necessary; (14) ensure that individuals

identified as having COVID-19 or having been exposed to COVID-19 are properly quarantined in

a non-punitive setting, with continued access to showers, recreation, mental health services,

reading materials, commissary, phone and video visitation with loved ones, communication with

counsel, and personal property; (15) assure incarcerated people are told that they will not be

retaliated against for reporting COVID-19 symptoms; (16) respond to all emergency (as defined

by the medical community) requests for medical attention within an hour; (17) produce and

implement a comprehensive written plan to ensure adequate spacing of six feet or more between

incarcerated people, to the maximum extent possible, so that social distancing can be accomplished

(this plan shall include an account of current and projected numbers of incarcerated people in

shared spaces at any given time); (18) provide frequent communications to all incarcerated

individuals regarding COVID-19, measures taken to reduce the risk of infection, best practices for

incarcerated people to avoid infection, and any changes in policies and practices; and (19) prohibit



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ADC staff from entering correctional facilities if they test positive for COVID-19 or exhibit

symptoms of having contracted COVID-19 (Id., at 5-8).

       In support of their supplemental motion for temporary restraining order, plaintiffs contend

that hundreds of additional incarcerated people and staff in ADC facilities will likely contract

COVID-19 if these preventative measures are not taken immediately (Dkt. No. 23, at 1). Plaintiffs

maintain that the ADC has not implemented the CDC’s recommendations, and plaintiffs request

this Court’s intervention to make sure the ADC implements these recommended measures (Id., at

4).

       In electronic communication to the Court on April 27, 2020, within hours of this motion

being filed and without Court prompting, defendants communicated their opposition to this

motion. See Court’s Ex. A. Defendants maintain that plaintiffs’ supplemental motion for

temporary restraining order requests almost all of the same relief as plaintiffs’ emergency motion

for temporary restraining order and preliminary injunction. Defendants assert that the only

apparent difference between the two motions is that plaintiffs’ supplemental motion for temporary

restraining order omits at this time their emergency request for release of certain putative class

members.

       In this motion, plaintiffs requested an opportunity to present expedited oral argument to

the Court on the urgent need for the requested relief (Dkt. No. 22, at 1-2). The Court conducted a

hearing with all parties on this motion on Tuesday, April 28, 2020 (Dkt. Nos. 24; 26). At that

hearing, plaintiffs alleged three particular areas of failure by defendants: (1) failure to intensify

cleaning and disinfecting in accordance with CDC guidelines; (2) failure to implement social

distancing to the extent possible amid the pandemic; and (3) failure to address adequately

suspected or confirmed cases of COVID-19. Defendants argued that they have already taken



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adequate steps in response to the COVID-19 threat in ADC facilities, including some of the relief

specifically requested in plaintiffs’ supplemental motion for temporary restraining order.

       II.     Legal Standard

       In the Eighth Circuit, the same standards are applied to a request for a preliminary

injunction as to a request for a temporary restraining order. See S.B. McLaughlin & Co. v. Tudor

Oaks Condo. Project, 877 F.2d 707, 708 (8th Cir. 1989). In determining whether to issue a

temporary restraining order, a district court should consider: “(1) the threat of irreparable harm to

the movant; (2) the state of the balance between this harm and the injury that granting the

injunction will inflict on other parties litigant; (3) the probability that movant will succeed on the

merits; and (4) the public interest.” Kroupa v. Nielsen, 731 F.3d 813, 818 (8th Cir. 2013) (quoting

Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981)). Under Dataphase, no

one factor is determinative. See Dataphase, 640 F.2d at 113. A temporary restraining order “is

an extraordinary remedy, and the burden of establishing the propriety of an injunction is on the

movant.” Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003) (citations omitted).

       III.    Analysis Of Supplemental Motion For Temporary Restraining Order

               A.      Habeas Corpus

       As an initial matter, the Court reiterates that in their complaint plaintiffs bring, in part, a

petition for writ of habeas corpus for violation of the Eighth Amendment on behalf of the proposed

high risk subclass pursuant to 28 U.S.C. § 2241 (Dkt. No. 1, ¶¶ 136-38). For relief on this claim,

plaintiffs seek in part release from custody for members of the proposed high risk subclass (Id., ¶

138). Plaintiffs in their complaint request a temporary restraining order, preliminary injunction,

permanent injunction, and/or writs of habeas corpus requiring defendants to release immediately

members of the high risk subclass and disability subclass or transfer them to home confinement



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(Id., at 46). The Court also reiterates that plaintiffs’ emergency motion for temporary restraining

order and preliminary injunction seeks emergency medical release or temporary medical furlough

for the proposed high risk subclass and disability subclass (Dkt. No. 3, at 45, 49, 56).

        Plaintiffs’ supplemental motion for temporary restraining order and attendant filings

currently before the Court and addressed in this Order do not include these same requests for relief

(Dkt. Nos. 22; 22-1; 23). Because these requests for relief are not in plaintiffs’ supplemental

motion for temporary restraining order, the Court will not consider or discuss them in this Order.

The Court will take up those issues in a later Order ruling on plaintiffs’ emergency motion for

temporary restraining order and preliminary injunction (Dkt. No. 2).

                B.      Dataphase Analysis

        In ruling on plaintiffs’ motion, the Court must consider (1) plaintiffs’ likelihood of success

on the merits; (2) the threat of irreparable harm; (3) the balance of the equities; and (4) the public

interest. See Dataphase, 640 F.2d at 113. Assuming without deciding for purposes of resolving

the pending motion only that plaintiffs have Article III standing to bring their claims; that plaintiffs

have exhausted fully their claims in accordance with the Prison Litigation Reform Act, 42 U.S.C.

§ 1997e(a), et seq., to the extent it applies; and that plaintiffs’ proposed general class and

subclasses merit certification under Federal Rules of Civil Procedure 23(a) and 23(b)(2), the Court

concludes that the Dataphase factors weigh in favor of denying plaintiffs’ supplemental motion

for a temporary restraining order.

                        1.      Likelihood Of Success

        Because plaintiffs bring both Eighth Amendment claims on behalf of all plaintiffs and

proposed class members and ADA claims on behalf of all plaintiffs and the proposed disability




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subclass, the Court will analyze plaintiffs’ likelihood of success on the merits under each cause of

action separately.

                               a.     Eighth Amendment Claim

       Plaintiffs allege that defendants’ failure to provide adequate protection and, if necessary,

medical care in response to the rapid spread of a deadly virus constitutes deliberate indifference to

the serious medical needs of incarcerated individuals in violation of the Eighth Amendment (Dkt.

No. 1, ¶ 129).

                                      i.      Deliberate Indifference Standard

       “[T]he treatment a prisoner receives in prison and the conditions under which he is

confined are subject to scrutiny under the Eighth Amendment.” Helling v. McKinney, 509 U.S.

25, 36 (1993).       State officials have a responsibility under the Eighth Amendment to

“provide humane conditions of confinement,” “ensure that inmates receive adequate food,

clothing, shelter, and medical care,” and “‘take reasonable measures to guarantee the safety of the

inmates.’” Farmer v. Brennan, 511 U.S 825, 832 (1994) (quoting Hudson v. Palmer, 468 U.S.

517, 526-57 (1984)). The Eighth Amendment standard for conditions of confinement asks whether

defendants acted with “deliberate indifference.” Davis v. Oregon Cty., 607 F.3d 543, 548 (8th Cir.

2010). Deliberate indifference has both an objective and subjective component. See id. The

objective component considers “whether a substantial risk to the inmate’s safety existed,” and the

subjective component considers “whether the officer had knowledge of the substantial risk to the

inmate’s safety but nevertheless disregarded it.” Id. The Eighth Amendment forbids deliberate

indifference to conditions that “pose an unreasonable risk of serious damage to . . . future health.”

Helling, 509 U.S. at 35; see also DeGidio v. Pung, 920 F.2d 525, 533 (8th Cir. 1990) (continuing

failure by prison officials to institute a system to prevent the spread of tuberculosis violated the



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Eighth Amendment); Brown v. Moore, 93 F. Supp. 3d 1032, 1041 (W.D. Ark. 2015) (“Plaintiff

need not have contracted the disease for an actionable [Eighth Amendment] claim to be stated.”).

“In order to demonstrate that a defendant actually knew of, but deliberately disregarded, a serious

medical need, the plaintiff must establish a ‘mental state akin to criminal recklessness:

disregarding a known risk to the inmate’s health.’” Vaughn v. Gray, 557 F.3d 904, 908 (8th Cir.

2009) (quoting Gordon v. Frank, 454 F.3d 858, 862 (8th Cir. 2006)). Under controlling precedent,

the deliberate indifference standard may be satisfied when officials respond to an infectious disease

“outbreak with a series of negligent and reckless actions.” DeGidio, 920 F.2d at 533.

                                      ii.     Objective Prong

       As to the objective prong, it cannot be disputed that COVID-19 poses an objectively serious

health risk to named plaintiffs and the putative classes given the nature of the disease and the

congregate living environment of the ADC’s facilities. These risks can be exacerbated by a lack

of access to PPE for prisoners and many staff members, a lack of cleaning of shared items like

toilets, sinks, and showers, and an inability to social distance properly. This objectively serious

health risk appears heightened for named plaintiffs and members of the putative subclasses given

plaintiffs’ allegations regarding their susceptibility to contracting COVID-19 and experiencing

worsened symptoms. Thus, plaintiffs are likely to satisfy the objective prong of the deliberate

indifference test for their Eighth Amendment claims.

                                      iii.    Subjective Prong

       As to the subjective prong, plaintiffs assert that defendants have failed to address the

COVID-19 risk despite being aware of it (Dkt. No. 3, at 41-45). Plaintiffs identify several ADC

actions that allegedly satisfy the subjective prong of the deliberate indifference test. The ADC

posted a flyer stating, “COVID-19 is known to cause a greater risk for severe illness in older adults



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and persons with underlying health conditions or compromised immune conditions. Younger

people can be infected and spread the disease to others, too.” (Id., at 42). The ADC website

provides that face masks help prevent the spread of COVID-19 and the steps that must be taken to

keep those coverings sanitary (Id., at 43). The ADC website contains a Frequently Asked

Questions (“FAQ”) document that outlines “steps” that can be “take[n] to reduce our risk of getting

COVID-19” (Id.). The FAQ provides that individuals should regularly clean surfaces that are

frequently used and that if someone contracts the virus they should “get immediate medical

attention” (Id.). As early as March 15, 2020, the ADC posted a separate informational document

outlining the steps being taken to prevent the spread of COVID-19 among the general public (Id.).

       Plaintiffs also argue that defendants can address this matter by ensuring that proper

cleaning supplies are available, suitable distance between prisoners is possible, regular care is

provided to those infected, and releasing on at least a temporary basis while maintaining ADC

monitoring extremely vulnerable individuals who cannot be safely confined in a congregate setting

(Id., at 43-44). Plaintiffs assert that defendants must institute immediate testing, immediate

screening, appropriate use of quarantine, and significant improvements in hygiene, among other

things (Id., at 45). Plaintiffs also note that defendants have demonstrated clear knowledge of the

COVID-19 risk, as evidenced by the ADC tracking the number of prisoners and staff who have

contracted COVID-19 and publishing those numbers twice per week (Id., at 41).

       On this record, and at this stage of the litigation, considering plaintiffs’ allegations and

affidavits and weighing arguments advanced by counsel at the hearing on the emergency motion

for temporary restraining order, the Court concludes that plaintiffs have not demonstrated a

likelihood of success in demonstrating that defendants have exhibited the subjective deliberate

indifference necessary to substantiate plaintiffs’ Eighth Amendment claims. The parties do not



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dispute that defendants have taken some response to COVID-19, as even plaintiffs’ affidavits refer

to dissemination of information to some regarding COVID-19 and its avoidance, masks for some

inmates and staff, requirements as to when to wear those masks, temperature checks for staff,

inmates’ access to soap and water, and the frequency and type of cleaning for certain areas within

facilities. On this record, at least at this stage, the Court concludes that plaintiffs have not

demonstrated a likelihood of success in showing that actions defendants have taken betray a

“mental state akin to criminal recklessness” or that defendants are “disregarding a known risk to

the inmate’s health.” Gordon, 454 F.3d at 862.

       In reaching this conclusion, the Court acknowledges that plaintiffs argue these steps are

insufficient, not uniform or implemented across all ADC facilities, and not in compliance with

recognized guidance, among other things. Further, the Court is concerned about events that

occurred and are occurring in the Cummins Unit and actions taken, or not taken, prior to and since

that outbreak. Given what is known about COVID-19, and on this record at this stage of the

litigation, however, the Court cannot conclude that such an outbreak necessarily arises from

deficiencies that likely demonstrate Eighth Amendment violations.

       The Court reserves final judgment on this issue until all parties have completed briefing in

accordance with the Court’s briefing schedule and until the Court has conducted the May 7, 2020,

hearing on plaintiffs’ emergency motion for temporary restraining order and preliminary

injunction (Dkt. No. 20).

                              b.     ADA Claim

       Plaintiffs claim that defendants have intentionally discriminated against named plaintiffs

and members of the proposed disability subclass by denying them reasonable accommodations

that have been recommended by the CDC and are necessary to protect them from COVID-19 (Dkt.



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No. 1, ¶ 140). In their complaint, plaintiffs assert that reasonable accommodations necessary to

protect incarcerated individuals with disabilities include, but are not limited to: access to alcohol-

based sanitizer; provision of cleaning supplies, including products containing bleach, adequate to

clean individuals’ housing areas; provision of PPE; access to antibacterial hand soap and towels

to enable individuals to wash their hands as necessary; implementation of social distancing

measures in all locations where incarcerated people are required to congregate; and release or

transfer to home confinement if social distancing is not practicable (Id., ¶ 141). Plaintiffs claim

that defendants’ failure to provide these accommodations constitutes illegal discrimination under

the ADA and entitles them to injunctive and declaratory relief (Id., ¶ 142). In their current pending

motion, plaintiffs request relief common to all, not different or specific relief for the proposed

disability subclass (Dkt. No. 22-1, at 5-8). Also in the current pending motion, plaintiffs make no

request for release or transfer to home confinement if social distancing is not practicable (Id.).

       The ADA prohibits public entities, including state prisons, from discriminating on the basis

of disability. See, e.g., Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210 (1998). To assert a claim

under Title II of the ADA, plaintiffs must show that: (1) each plaintiff is a “qualified individual

with a disability”; (2) defendants denied plaintiffs “the benefits of the services, programs, or

activities of a public entity”; and (3) plaintiffs were discriminated against “by reason of” their

disabilities. See 42 U.S.C. § 12132; see also Folkerts v. City of Waverly, 707 F.3d 975, 983 (8th

Cir. 2013). A “qualified individual with a disability” means an individual “with a disability who,

with or without reasonable modifications. . . , meets the essential eligibility requirements for the

receipt of services or the participation in programs or activities provided by a public entity.” See

42 U.S.C. § 12131(2). The Eighth Circuit construes broadly the “services, programs, or activities”

language in the ADA to encompass “anything a public entity does.” Bahl v. Cty. of Ramsey, 695



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F.3d 778, 787 (8th Cir. 2012) (citations omitted). State actors may rely on the “reasonable

assessments” of their own professionals in determining whether an individual is qualified for

services and programs and whether “reasonable modifications” are available to prevent

discrimination. See Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 602 (1999) (citing 28 C.F.R.

§§ 35.130(b)(7), (d)). Plaintiffs need not plead exclusion from participation in or denial of benefits

offered to state a claim under Title II of the ADA. See, e.g., Loye v. Cty. of Dakota, 625 F.3d 494,

496 (8th Cir. 2010) (“[W]e construe Title II of the ADA as requiring that qualified persons with

disabilities receive ‘meaningful access’ to a public entity’s services, not merely ‘limited

participation.’”).

        The regulations implementing Title II of the ADA require that a public entity “make

reasonable modifications in policies, practices, or procedures when the modifications are necessary

to avoid discrimination on the basis of disability, unless the public entity can demonstrate that

making the modifications would fundamentally alter the nature of the service, program, or

activity.” 28 C.F.R. § 35.130(b)(7)(i). This is considered an affirmative defense to an ADA Title

II claim; the ADA regulations explicitly provide that the entity must demonstrate that making the

modification would fundamentally alter the subject program. 28 C.F.R. § 35.130(b)(7). For this

affirmative defense, the entity may demonstrate that the requested action “would result in a

fundamental alteration in the nature of a service, program, or activity or in undue financial and

administrative burdens.” 28 C.F.R. § 35.150(a)(3). The Eighth Circuit has noted that whether a

requested accommodation is reasonable or imposes an undue burden on defendants should be

considered in the light of “the heightened security concerns of a prison.” Randolph v. Rodgers,

170 F.3d 850, 859 (8th Cir. 1999) (examining Title II ADA claim against prison). Generally, ADA

plaintiffs are entitled to reasonable accommodations, which may not always be plaintiffs’ preferred



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or ideal accommodations. See Griffin v. United Parcel Serv., Inc., 661 F.3d 216, 224 (8th Cir.

2011); Huber v. Wal-Mart Stores, Inc., 486 F.3d 480, 484 (8th Cir. 2007).

       Plaintiffs may prove unlawful discrimination under Title II by offering evidence of

disparate treatment based on disability or by showing that a facially-neutral policy has the “effect

of discriminating against the disabled or the severely disabled.” DeBord v. Bd. of Educ., 126 F.3d

1102, 1105 (8th Cir. 1997).       In regard to an ADA failure-to-accommodate claim, ““the

‘discrimination’ is framed in terms of the failure to fulfill an affirmative duty—the failure to

reasonably accommodate the disabled individual’s limitations. . . . The known disability triggers

the duty to reasonably accommodate and, if the [defendant] fails to fulfill that duty, [the Court]

do[es] not care if he was motivated by the disability.” Peebles v. Potter, 354 F.3d 761, 767 (8th

Cir. 2004) (internal citation omitted); see also Sak v. City of Aurelia, 832 F. Supp. 2d 1026, 1040

(N.D. Ia. 2011) (failure to accommodate is an independent basis for liability under the ADA, but

accommodation is only required when necessary to avoid discrimination on the basis of disability,

and accommodation must be reasonable) (citing 28 C.F.R. § 35.130(b)(7)). Though a plaintiff

seeking compensatory money damages under Title II must show intentional discrimination on the

basis of disability, a plaintiff seeking prospective injunctive relief is not required to make this

showing. See Meagley v. City of Little Rock, 639 F.3d 384, 388-89 (8th Cir. 2011).

       On this record, and at this stage of the litigation, considering plaintiffs’ allegations and

affidavits and weighing arguments advanced by counsel at the hearing on the emergency motion

for temporary restraining order, the Court concludes that plaintiffs are unlikely to succeed on their

claims under Title II of the ADA. Assuming arguendo that named plaintiffs and proposed

members of the disability subclass are qualified individuals with a disability, the Court concludes

that plaintiffs are not likely to succeed on their claim that defendants’ action or inaction in



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combatting the COVID-19 risk in ADC facilities has had the effect of denying plaintiffs in the

disability subclass “the benefits of the services, programs, or activities” within the ADC “by reason

of” those plaintiffs’ disabilities. See 42 U.S.C. § 12132. However, the Court reserves final

judgment on this issue until all parties have completed briefing in accordance with the Court’s

briefing schedule and until the Court has conducted the May 7, 2020, hearing on plaintiffs’

emergency motion for temporary restraining order and preliminary injunction (Dkt. No. 20).

                       2.      Threat Of Irreparable Harm

       “Irreparable harm occurs when a party has no adequate remedy at law, typically because

its injuries cannot be fully compensated through an award of damages.” Gen. Motors Corp. v.

Harry Brown’s, LLC, 563 F.3d 312, 319 (8th Cir. 2009). “To succeed in demonstrating a threat

of irreparable harm, ‘a party must show that the harm is certain and great and of such imminence

that there is a clear and present need for equitable relief.’” Roudachevski v. All-American Care

Ctrs., Inc., 648 F.3d 701, 706 (8th Cir. 2011) (quoting Ia. Utils. Bd. v. Fed. Commc’ns Comm’n,

109 F.3d 418, 425 (8th Cir. 1996)). A plaintiff must “demonstrate that irreparable injury is likely

in the absence of an injunction.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)

(emphasis in original) (citations omitted). The Eighth Circuit has held that it is “no question . . .

that irreparable injury exist[s]” when the harm contemplated is “a life threatening illness.” Harris

v. Blue Cross Blue Shield of Mo., 995 F.2d 877, 879 (8th Cir. 1993); see also Kai v. Ross, 336 F.3d

650, 656 (8th Cir. 2003) (“[T]he danger to plaintiffs’ health, and perhaps even their lives, gives

them a strong argument of irreparable injury.”).

       Plaintiffs’ alleged harm is both imminent and irreparable, as plaintiffs face a risk of severe

illness or possible death in the light of COVID-19. Based on allegations in plaintiffs’ complaint,

one of the named plaintiffs has already tested positive for COVID-19, along with hundreds more



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individuals in ADC facilities. Plaintiffs face the progression of the COVID-19 pandemic in a

congregate environment. The irreparability of this harm is magnified by the fact that no known

vaccine or cure for COVID-19 exists at this time (Dkt. Nos. 3, at 53; 3-1, ¶ 10; 3-2, ¶ 5).

       At the hearing, defendants argued that no impending imminent risk exists for prisoners in

Cummins who have tested negative; for prisoners who have been quarantined; or for prisoners in

ADC facilities that have had no positive tests. The Court is unconvinced by these arguments.

Prisoners who have tested negative or have been quarantined could still contract COVID-19.

Additionally, the lack of positive tests to date in other ADC facilities does not foreclose that

COVID-19 is already in these facilities undetected or that COVID-19 could reach these facilities

and spread as rapidly as it has in Cummins.

       Because the alleged harm is a high likelihood of serious illness or death, the Court finds

that plaintiffs have properly alleged irreparable harm.

                       3.      Balance Of The Equities

       “The third Dataphase factor requires a district court to consider the balance between the

harm to the movant and the injury that granting the injunction will inflict on other interested

parties.” Sanborn Mfg. Co., Inc. v. Campbell Hausfeld/Scott Fetzer Co., 997 F.2d 484, 489 (8th

Cir. 1993) (citing Dataphase, 640 F.2d at 114). “At base, the question is whether the balance of

equities so favors the movant that justice requires the court to intervene to preserve the status quo

until the merits are determined.” Dataphase, 640 F.2d at 113 (footnote omitted). “No single

[Dataphase] factor in itself is dispositive; rather, each factor must be considered to determine

whether the balance of equities weighs toward granting the injunction.” United Indus. Corp. v.

Clorox Co., 140 F.3d 1175, 1179 (8th Cir. 1998) (citations omitted).




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       The balance of the equities at this stage is a neutral factor in this analysis. Plaintiffs face

irreparable harm to their constitutional rights and their health, including severe illness, long-term

health effects, and possible death. Plaintiffs argue that there is not much potential harm to

defendants in granting plaintiffs’ requested relief in the instant motion because plaintiffs’

supplemental motion for temporary restraining order mostly requests basic protective measures

recommended by the CDC that defendants have been aware of since March 23, 2020. Defendants

maintain that requiring defendants to implement steps they already have taken as demonstrated by

record evidence is unnecessary and that requiring them to implement the steps requested that go

beyond those already implemented would impose undue costs, harms, burdens, and disruptions in

running the ADC facilities. There are strong considerations that favor both sides in this dispute.

                       4.      Public Interest

       “In exercising their sound discretion, courts of equity should pay particular regard for the

public consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at

24 (quoting Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982)). The public is certainly

served by the preservation of constitutional rights. See D.M. by Bao Xiong v. Minn. State High

Sch. League, 917 F.3d 994, 1004 (8th Cir. 2019) (internal quotations and citations omitted).

However, in assessing the public interest, the Supreme Court has also cautioned that federal courts

must tread lightly when it comes to questions of managing prisons, particularly state prisons.

States have a strong interest in the administration of their prisons, which is “bound up with state

laws, regulations, and procedures.” Woodford v. Ngo, 548 U.S. 81, 94 (2006). The Supreme Court

has stated that “[i]t is difficult to imagine an activity in which a State has a stronger interest, or

one that is more intricately bound up with state laws, regulations, and procedures, than the

administration of its prisons.” Preiser v. Rodriguez, 411 U.S. 475, 491-92 (1973); see also Turner



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v. Safley, 482 U.S. 78, 85 (1987) (“[W]here a state penal system is involved, federal courts have .

. . additional reason to accord deference to the appropriate prison authorities.”); Meachum v. Fano,

427 U.S. 215, 229 (1976) (“Federal courts do not sit to supervise state prisons, the administration

of which is of acute interest to the States.”). Courts accordingly should give deference to prison

authorities. See Turner, 482 U.S. at 84-85.

       The public interest in this case cuts both ways. In plaintiffs’ favor, the public interest is

served by protecting plaintiffs and the putative class members from COVID-19 and its possible

consequences via the relief requested in plaintiffs’ supplemental motion for temporary restraining

order. Further, minimizing the spread of COVID-19 both within ADC facilities and among

communities surrounding and interacting with those facilities serves the public interest. Efforts to

stop the spread of COVID-19 and promote public health appear to be in the public interest. In

defendants’ favor, the public interest also commands respect for federalism and comity. These

factors dictate that the Court should approach intrusion into the core activities of the state’s prison

system with caution.

       IV.     Conclusion

       For the foregoing reasons, given the Dataphase analysis and that plaintiffs do not

demonstrate a likelihood of success on the merits of their claims at issue in the pending motion,

the Court provisionally denies plaintiffs’ supplemental motion for temporary restraining order

(Dkt. No. 22). The Court still has under advisement plaintiffs’ emergency motion for temporary

restraining order and preliminary injunction (Dkt. No. 2).

       It is so ordered this Monday, May 4, 2020, at 8:05 a.m. CT.



                                                       Kristine G. Baker
                                                       United States District Judge

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